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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

HILARY DEEN GOODWIN                                                       PLAINTIFF

V.                         No. 3:21-CV-00019-LPR

KEITH BOWERS, Administrator, Craighead
County Detention Center; CRAIGHEAD
COUNTY DETENTION CENTER                                                 DEFENDANTS

                                    JUDGMENT

      Pursuant to the Order that was entered on November 3, 2021, it is considered,

ordered, and adjudged that this case is DISMISSED, without prejudice.

      IT IS SO ADJUDGED this 3rd day of November, 2021.


                                              ________________________________
                                              LEE P. RUDOFSKY
                                              UNITED STATES DISTRICT JUDGE
